                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DERRICK GARRETT, individually and on                 )
behalf of all others similarly situated,             )      Case No. 1:17-cv-00087
                                                     )
               Plaintiff,                            )      Judge Manish S. Shah
                                                     )
v.                                                   )      Magistrate Judge Maria Valdez
                                                     )
DAVID M. BLASKOVICH, P.C.                            )
DAVID BLASKOVICH, and                                )
MEDICAL BUSINESS BUREAU, LLC,                        )
                                                     )
               Defendants.                           )


 PETITION FOR AND MEMORANDUM IN SUPPORT OF AWARD OF ATTORNEYS
                        FEES AND COSTS

       Plaintiff, Derrick Garrett (“Garrett” or “Plaintiff”), individually, and as a representative

of the Class, and his counsel, Community Lawyers Group, Ltd. (“CLG” or “Class Counsel”),

submit their petition to the Court for an award of $15,450.00 for their attorneys’ fees and costs

and to provide notice to class members of the basis for that request. Class Counsel will request

that this Court enter an order on this request at the Fairness Hearing scheduled for January 18,

2018 at 10:30 a.m.

        Plaintiff Garrett brought this action against Defendants David M. Blaskovich, P.C.

(“DMB PC”), David Blaskovich (“DMB”), and Medical Business Bureau, LLC, (“MBB”)

(collectively “Defendants”) individually and on behalf of a class, claiming that Defendants

violated the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and state

law when they sent a letter to Plaintiff and the Class which (1) failed to adequately name the

creditor to whom the debt is owed; (2) falsely represented the amount and character of the debt

when it communicated a balance including unlawful interest; used unfair and unconscionable

means to attempt to collect an alleged debt, when they attempted to collect interest to which they
had neither a contractual nor statutory right; (3) misrepresented the character of an alleged debt

when they communicated that Plaintiff could accrue attorney fees on an alleged debt, when no

such attorney fees were authorized by law; (4) failed to provide adequate disclosure of Plaintiff’s

rights when they provided conflicting disclosures as to whether Plaintiff had to dispute in writing

in order to invoke his right to receive verification of an alleged debt; and (5) attempted to collect

interest when it allegedly did not have the right to statutory or contractual pre-judgment interest.

       On October 5, 2017, the Court entered an order, granting preliminary approval to the

parties’ settlement agreement (ECF No. 45). The settlement agreement provides for Defendants

to make the following payments:

               a.      $2,000.00 to Garrett as damages for his claims, and as an incentive award
                       for bringing the claims on behalf of the class.

               b.      $2,046.00 to be divided pro rata to each class member who did not timely
                       exclude himself/herself from the settlement and timely returned a claim
                       form (“Participating Class Members”).

               c.      $15,450.00 for Plaintiff’s Class Counsel for attorneys’ fees and costs
                       subject to court approval.

               d.      $100.00 for the cost incurred with administering the Class Settlement.

       In compliance with Seventh Circuit precedent and the Fed. R. of Civ. P. 23, Class

Counsel hereby gives notice to class members of the details and basis for the attorneys’ fees and

costs that Class Counsel intends to request from the Court at final approval, in advance of the

final approval hearing set for January 18, 2018. See Redman v. Radioshack Corp., 768 F.3d 622,

637-38 (7th Cir. 2014). Class members have an opportunity to evaluate the reasonableness of

Class Counsel’s fees and make any objections to such request for fees and costs.

        As of the date of filing this petition, CLG has incurred fees and costs in excess of

$18,000.00 in litigating this action (See Exhibit D). This amount does not include the additional

time and expense of finalizing the case, including preparing the Motion for Final Approval,

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appearing at the fairness hearing, and responding to class members questions, if any arise before

that date.

                                           ARGUMENT

I.    Class Counsel’s Petition for $15,450.00 in Fees and Costs is Fair and Reasonable.

        Class Counsel’s petition for $15,450.00 in fees and costs is fair and reasonable. The Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) allows Class Counsel to

recover for their work in this action. Section 1692k provides that “any debt collector who fails to

comply with any provision of this subchapter with respect to any person” is liable, inter alia, for

“in the case of any successful action to enforce the foregoing liability, the costs of the action,

together with a reasonable attorneys’ fee as determined by the court.” 15 U.S.C. §1692k(a)(3).

To date, Class Counsel has incurred $17,417.20 in fees and $606.00 in costs, for a total of

$18,023.20. The fees and costs incurred by Class Counsel in litigating this case were incurred in

the course of performing the following tasks:

        A.     Pre-Complaint Legal and Factual Investigation

        Class Counsel began conducting a factual and legal investigation of Plaintiff’s claims in

December 2016. This investigation included meeting with Plaintiff, an analysis of the collection

letter at issue, the potential FDCPA claims which could be brought, the potential for proceeding

on a class-wide basis, the applicable federal and Illinois law and the elements and potential

defenses for the proposed claims. After concluding the initial factual and legal analysis, Class

Counsel drafted, prepared, and filed the Complaint and supporting exhibits and documents.

        B.     Discovery & Settlement Conference

        After Defendants answered the Complaint, Plaintiff drafted and issued written discovery

to Defendants, including requests for Defendants’ net worth and number of class members in



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order to determine whether class-settlement was feasible. Plaintiff also drafted and filed a motion

and memorandum for class certification during the course of this litigation. Before any discovery

was issued to Plaintiff and before any depositions were taken, Defendants requested a settlement

conference with Magistrate Judge Maria Valdez.

       The parties agreed to a date for the settlement conference, prepared pre-settlement

conference position papers, and attended an in-person settlement conference on August 29, 2017

with Judge Valdez. During the settlement conference, Class Counsel tendered an accounting of

their attorneys fees and costs to date to Judge Valdez. Ultimately, the parties reached a

settlement on a class-wide basis with the assistance of the Court. Class Counsel and Defendants’

counsel worked together to draft and approve the class settlement agreement, class notice,

preliminary approval order, and Joint Motion for Preliminary Approval of Class Settlement.

II.    Plaintiff’s Counsel Loadstar Exceeds the Amount Requested

       Pursuant to the settlement agreement, the Defendants will pay attorneys’ fees in an

amount of $15,000.00 and reimburse costs in an amount of $450.00. Class Counsel will request

approval from the Court of attorneys’ fees and costs in the amount of $15,450.00. As set forth in

the Declarations of Michael J. Wood (Exhibit A), Celetha C. Chatman (Exhibit B), and Holly R.

McCurdy (Exhibit C), Class Counsel includes experienced class action attorneys, all of whom

contributed their skills and expended their resources in a coordinated effort that resulted in the

settlement of this matter.

       Although there is no precise formula for determining a reasonable fee, the district court

generally begins by calculating the lodestar—the attorney's reasonable hourly rate multiplied by

the number of hours reasonably expended. Hensley v. Eckerhart, 461 U.S. 424, 433-37, 103 S.

Ct. 1933, 76 L. Ed. 2d 40 (1983); Gautreaux v. Chi. Hous. Auth., 491 F.3d 649, 659 (7th Cir.



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2007). The proper hourly rate is determined based on the market rate for the services of

plaintiff's counsel. See, e.g., Missouri v. Jenkins, 491 U.S. 274, 283, 105 L. Ed. 2d 229, 109 S.

Ct. 2463 (1989). If an attorney commonly charges by the hour, his or her regular billing rate is

presumptively the market rate. Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 555 (7th

Cir. 1999); People Who Care v. Rockford Board of Education, 90 F.3d 1307, 1310 (7th Cir.

1996). The hourly rates of Class Counsel, and a detailed listing of Class Counsel’s lodestar, are

set forth in Exhibits A-D attached hereto.

       The actual lodestar and expenses incurred by Class Counsel, as of January 4, 2018, is

$18,023.20. See Exhibit D. This amount, already above the agreed settlement amount for

attorneys’ fees and costs, does not include time spent preparing for, and appearing at, the fairness

hearing and processing any additional calls from class members, inquiring about the settlement

checks. Accordingly, the request for $15,450.00 is fair and reasonable, and Plaintiff requests that

the Court approve that amount.

       The settlement in this case also complies with relevant case law from the Seventh Circuit

concerning class settlement awards, and is consistent with the principles set forth in Pearson v.

NBTY, Inc., 772 F.3d 778 (7th Cir. 2014), Redman v. RadioShack Corp., 768 F.3d 622 (7th Cir.

2014) and Eubank v. Pella Corp., 753 F.3d 718 (7th Cir. 2014). First, the award to the class is

distinct and separate from the attorneys’ fees in this case. The FDCPA is a fee shifting statute

and the fees being awarded to class would not come from a class fund, but rather by payment

directly from Defendants, pursuant to the fee shifting provision of the FDCPA as set out in §

1692k(a)(3). Thus, the size of the attorneys’ fees award does not affect the award to the class,

unlike cases such as Pearson, Redman, and Eubank where payment of the attorneys’ fees

affected the total payment to the class.



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III.   CONCLUSION

        For the foregoing reasons, the Court should find that $15,450.00 for Class Counsel’s

 Attorneys’ Fees and Costs is fair and reasonable and enter an order awarding Class Counsel that

 amount at the fairness hearing on January 18, 2018.



                                                       Respectfully Submitted,

                                                       s/Celetha Chatman
                                                       Celetha Chatman

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 4, 2018, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois Eastern Division, the foregoing PETITION FOR
AND MEMORANDUM IN SUPPORT OF AWARD OF ATTORNEYS FEES AND COSTS by
using the CM/ECF system, which will send notification of such filing(s) to all parties of record.

                                                     s/Celetha Chatman




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